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 1
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 6   ATTORNEY FOR Defendant,
     MARK BAGDASARIAN
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 8
                                 UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
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                                               ******
11   UNITED STATES OF AMERICA,                        Case No.: 1:11-CR-00352-LJO-SKO
12
                   Plaintiff,                         STIPULATION TO CONTINUE STATUS
13                                                    CONFERENCE AND ORDER
            v.
14                                                    Date: September 26, 2016
     MARK BAGDASARIAN AND RYAN                        Time: 8:30 a.m.
15   BAGDASARIAN,                                     Courtroom: 4
                                                      Hon. Lawrence J. O’Neill
16                 Defendants.
17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their

19   respective counsel, Kevin P. Rooney, Anthony P. Capozzi, and Charles J. Lee, that the Status

20   Conference, presently set for September 21, 2016, at 8:30 a.m., be continued to December 12,

21   2016, at 8:30 a.m.

22          This continuance is at the request of all parties. United States v. Lovan (15-10122) has

23   been argued and submitted to the Ninth Circuit on December 7, 2015. This litigation involves

24   the ability of the United States Department of Justice to expend funds to litigate cases

25   implicating state marijuana authorizations. The ruling on that case was handed down on

26   August 16, 2016. The appeal involved pending district court cases from three different judicial

27   districts. The mandate has not been issued and the United States Department of Justice has not

28   determined whether or not it will attempt to continue the appellate litigation in that case.
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                          STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
                                     CASE NO.: 1:11-CR-00352-LJO-SKO
     Case 1:11-cr-00352-LJO-SKO Document 95 Filed 09/22/16 Page 2 of 3
 1   Moreover, the issues presented by this ruling are new and unusual and the Department of

 2   Justice has not issued national guidance to the United States Attorneys’ Offices regarding its

 3   response. The parties need additional time to properly engage in case resolution and to

 4   investigate and prepare continued litigation.

 5            Based on the above-stated findings, the ends of justice served by continuing this status

 6   conference as requested outweigh the interest of the public and the defendant in a trial within

 7   the original date prescribed by the Speedy Trial Act.

 8            For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 9   seq., within which trial must commence, the time period of September 26, 2016, through

10   December 12, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

11   B(iv) because it results from a continuance granted by the Court at defendant’s request on the

12   basis of the Court's finding that the ends of justice served by taking such action outweigh the

13   best interest of the public and the defendant in a speedy trial.

14            IT IS SO STIPULATED:

15                                              Respectfully submitted,

16   Dated:       September 21, 2016      By: /s/Kevin P. Rooney
                                              KEVIN P. ROONEY
17                                            Assistant United States Attorney
18

19

20   Dated:       September 21, 2016      By: /s/Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
21                                            Attorney for MARK BAGDASARIAN
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24   Dated:       September 21, 2016      By: /s/Charles Lee
                                              CHARLES LEE
25                                            Attorney for RYAN BAGDASARIAN
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                            STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
                                       CASE NO.: 1:11-CR-00352-LJO-SKO
     Case 1:11-cr-00352-LJO-SKO Document 95 Filed 09/22/16 Page 3 of 3
 1                                   ORDER

 2          Good cause having been shown, the Status Conference set for September 26, 2016, is

 3   hereby continued to December 12, 2016, at 8:30 a.m. Additionally, time shall be excluded by

 4   stipulation from the parties and pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv).

 5   IT IS SO ORDERED.

 6      Dated:     September 21, 2016                      /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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                          STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
                                     CASE NO.: 1:11-CR-00352-LJO-SKO
